          Case 1:25-cv-00628-SAG            Document 66    Filed 06/05/25     Page 1 of 5



                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND
                                   NORTHERN DIVISION


American Federation of Teachers, et al.,

                    Plaintiffs,

  v.

U.S. Department of Education, et al.,                      Civil Case No. 1:25-cv-00628

                    Defendants.




                     PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

       Pursuant to Federal Rule of Civil Procedure 56, Plaintiffs American Federation of Teachers,

American Sociological Association, American Federation of Teachers-Maryland, and Eugene

School District 4J, move for summary judgment in their favor to prevent Defendants from causing

further irreparable harm to Plaintiffs, their members, and educators and students around the

country. As set forth in more detail in the memorandum of law in support of this motion,

Defendants’ actions violate the First and Fifth Amendments of the U.S. Constitution, and

numerous provisions of the Administrative Procedures Act.

       Plaintiffs request that the Court:

       (i) Enter summary judgment in Plaintiffs’ favor on Counts 1-6;

       (ii) Vacate the following agency actions:

              1) Dear Colleague Letter of February 14, 2025, U.S. Department of Education (the

                  “Letter”); and
       Case 1:25-cv-00628-SAG            Document 66        Filed 06/05/25      Page 2 of 5



           2) “The Reminder of Legal Obligations Undertaken in Exchange for Receiving

               Federal Financial Assistance and Request for Certification under Title VI and SFFA

               v. Harvard”, (the “Certification”) dated April 3, 2025.

    (iii) Enter declaratory relief stating the following:

           1) Any signed Certifications are null and void;

           2) The Letter is unlawful;

           3) The Certification is unlawful;

           4) Activities, policies, and programs concerning diversity, equity, inclusion, or social

               justice are not per se or presumptively illegal under Title VI or the Equal Protection

               Clause;

           5) Curriculum and classroom speech concerning race, diversity, equity, inclusion, or

               social justice are not per se or presumptively illegal under Title VI or the Equal

               Protection Clause; and

           6) Race neutral means of increasing diversity are not per se or presumptively illegal

               under Title VI or the Equal Protection Clause.

    (iv) Order Defendants, and their officers, agents, servants, employees, attorneys (whether

employed by the Department of Education or the Department of Justice) and other persons who

are in active concert or participation with any of them (collectively, the “Enjoined Parties”), to

take no steps to (1) initiate or further any investigation or assessment of compliance, or (2) pause,

freeze, impede, block, cancel, or terminate any federal funding, awards, contracts, or obligations,

or impose other civil or criminal penalties (collectively, “Enforcement Steps”) against any

education institution or individual, on the basis or authority of the following documents:
        Case 1:25-cv-00628-SAG            Document 66         Filed 06/05/25       Page 3 of 5



            1) Dear Colleague Letter of February 14, 2025, U.S. Department of Education (the

                “Letter”);

            2) “Frequently Asked Questions About Racial Preferences and Stereotypes Under

                Title VI of the Civil Rights Act,” that intend to answer questions raised in response

                to the Letter, U.S. Department of Education, issued February 28, 2025 (the

                “FAQs”); and

            3) “The Reminder of Legal Obligations Undertaken in Exchange for Receiving

                Federal Financial Assistance and Request for Certification under Title VI and SFFA

                v. Harvard”, (the “Certification”) dated April 3, 2025;

    (v) Order that the Enjoined Parties shall take no Enforcement Steps against any educational

institution or individual on the basis of, or in furtherance of any statement, “understanding,” or

"interpretation of federal law” in the Letter, FAQs, or Certification to the extent:

            1) this Court has found such an interpretation, understanding, or statement unlawful;

                or

            2) it is inconsistent with Department of Education Title VI regulations, 34 C.F.R.

                § 100.1 et seq, including safe harbors codified at 34 C.F.R. 100.3(b)(6) and 34

                C.F.R. § 100.5(i).

    (vi) Order that the Enjoined Parties are enjoined from implementing, giving effect to, or

reinstating the Letter, the Certification, and the unlawful statements and interpretations therein

under a different name;

    (vii) Further order that the Enjoined Parties are enjoined from taking any Enforcement Steps

against an entity or individual, on the basis of an entity's failure to sign the Certification.
       Case 1:25-cv-00628-SAG            Document 66      Filed 06/05/25      Page 4 of 5



    (viii) Further order that this Permanent Injunction applies to and binds Defendants and all

other persons, including any other federal executive branch agencies, departments, and

commissions, and their heads, officers, agents, and subdivisions that assume responsibility for the

Department’s enforcement of civil rights laws against educational institutions or any other

Department duties or responsibilities.

    This relief shall apply to the maximum extent provided for by Fed. R. Civ. P. 65(d)(2).

    A proposed Order accompanies this Motion.


Dated: June 5, 2025                                  Respectfully submitted,
                                                     /s/ Kali Schellenberg
                                                     Kali Schellenberg (Bar No. 31582)
                                                     Brooke Menschel (Bar No. 31492)
                                                     Madeline H. Gitomer (Bar No. 31518)
                                                     Victoria S. Nugent (Bar No. 15039)
                                                     Andrew Bookbinder (Bar No. 31486)
                                                     Democracy Forward Foundation
                                                     P.O. Box 34553
                                                     Washington, DC 20043
                                                     (202) 448-9090
                                                     kschellenberg@democracyforward.org
                                                     bmenschel@democracyforward.org
                                                     mgitomer@democracyforward.org
                                                     vnugent@democracyforward.org
                                                     abookbinder@democracyforward.org

                                                     Counsel for Plaintiffs
       Case 1:25-cv-00628-SAG           Document 66        Filed 06/05/25      Page 5 of 5



                                CERTIFICATE OF SERVICE

       I hereby certify that on the date below, I electronically filed the foregoing with the Clerk

of the Court of the United States Court of the District of Maryland by using the CM/ECF system.

I also certify that the foregoing document is being served on Defendant's counsel of record and

that service will be accomplished by the CM/ECF system.

       This 5th day of June 2025

                                                     /s/ Kali Schellenberg
                                                     Kali Schellenberg
